 Case 1:18-cv-01094-PLM-PJG ECF No. 51 filed 02/01/19 PageID.205 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION



PS AUDIO, INC., a Colorado corporation,

                       Plaintiff,
                                                   Civil Action No. 1:18-cv-01094-PLM-PJG
vs.
                                                   Honorable Paul L. Maloney
JAMES ALLEN, an individual,

                       Defendant.


                      JUDGMENT and PERMANENT INJUNCTION


      Pursuant to Fed. R. Civ. P. 55, based on PS Audio, Inc.’s Motion for Default

Judgment and the Declaration of Jim Laib, the Court enters a default judgment against

Defendant James Allen (“Mr. Allen”) and in favor of PS Audio, Inc. (“PS Audio”) for

monetary damages and a permanent injunction against Mr. Allen as follows:

       1.      A judgment is entered in favor of PS Audio and against Mr. Allen in the sum

of $45,374.40 plus post judgment interest at the annual rate of 2.04%.

       2.      Pursuant to 15 U.S.C. § 1116(a), a permanent injunction is entered in favor of

PS Audio and against Mr. Allen as follows:

               a. Mr. Allen is permanently enjoined and prohibited from selling any PS

                  Audio branded product in the future.

               b. Mr. Allen is ordered to deliver to PS Audio all counterfeit PS Audio

                  power cords in his possession.
Case 1:18-cv-01094-PLM-PJG ECF No. 51 filed 02/01/19 PageID.206 Page 2 of 2



          c. Further, as part of the injunction, Mr. Allen is ordered to file with the

             court and serve on PS Audio within thirty days after the service on Mr.

             Allen of this injunction, a report in writing under oath setting forth in detail

             the manner and form in which Mr. Allen has complied with the injunction.



             February 1
    Dated: _________________, 2019.




                                  /s/ Paul L. Maloney
                                _______________________________
                                The Honorable Paul L. Maloney
                                United States District Court for the District of Michigan




                                            2
